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                                    UNITED STATES BANKRUPTCY COURT


District of New Jersey
401 Market Street
Camden, NJ 08102

                                          Case No.: 11−20582−JNP
                                          Chapter: 13
                                          Judge: Jerrold N. Poslusny Jr.

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Samuel C Kaufman
   69 N. Harrisburg Ave. #2
   Atlantic City, NJ 08401
Social Security No.:
   xxx−xx−7071
Employer's Tax I.D. No.:


                                                    FINAL DECREE



       The estate of the above named debtor(s) has been fully administered.

       If this case is a Chapter 11 or 13, the deposit required by the plan will be distributed, and it is

       ORDERED that Isabel C. Balboa is discharged as trustee of the estate of the above named debtor(s) and the
bond is canceled; and the case of the above named debtor(s) is closed.


Dated: August 19, 2015                          Jerrold N. Poslusny Jr.
                                                Judge, United States Bankruptcy Court
